             Case 3:16-bk-02230-PMG      Doc 1193     Filed 09/03/18    Page 1 of 7



                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION


In re                                                     Case No. 3:16-bk-02230-PMG

RMS TITANIC, INC., et al.,                                          Chapter 11
                                                              (Jointly Administered)
                        Debtors.


                       POST-HEARING STATEMENT OF THE
                  TRUSTEES OF THE NATIONAL MARITIME MUSEUM

        The Trustees of the National Maritime Museum ( NMM ) respectfully state as follows in

respect of the Museum Disclosure Statement:

        1.      On August 30, 2018, this Court conducted a hearing to consider (i) the bidding

procedures associated with the                              Sale Motion     (ii) the disclosure

                  Museum Disclosure Statement

 Museum Plan

Trustees of the Museums and Galleries of Northern Ireland, and Running Subway Productions,

LLC                     Museums Plan Sponsors , and (iii) the disclosure statement associated

with the chapter 11 plan         Equity Committee Plan     filed by the Official Committee of

Equity Security Holders.

        2.      At the hearing on August 30, the Debtors announced that the members of the

Stalking Horse Purchaser (as defined in the Sale Motion) had agreed to increase the proposed

purchase price under the Sale Motion from $17.5 million to $19.5 million provided that the

                                                        would agree to oppose approval of the

disclosure statements and agree to vote against the plans. As part of this arrangement, the

bidding procedures were amended to shorten the time for the auction and increase the maximum
             Case 3:16-bk-02230-PMG          Doc 1193    Filed 09/03/18        Page 2 of 7



Bid Protections (as defined in the Sale Motion) payable to the Stalking Horse Purchaser from $1

million to $1.5 million. Further, the Debtors indicated that the agreement to increase the

purchase price was conditioned upon the Court approving the new bidding procedures that day.

As of the date hereof, this Court has not entered an order approving the bidding procedures, and

it is unclear whether the Stalking Horse Purchaser extended its deadline.

        3.      While the record reflects that the Museum Disclosure Statement is undoubtedly

adequate under section 1125 of the Bankruptcy Code, solicitation of the Museum Plan at this

time would be futile because of 417 Fifth Avenue                                             . For this

reason, NMM respectfully requests that this Court hold in abeyance its decision with respect to

the Museum Disclosure Statement until further order of this Court. This request is without

                                                            ng procedures and Equity Committee

Plan.                                                                                 (and likely any

other prevailing bid at an auction) and the Equity Committee Plan, including the need for

approval by the United States District Court for the Eastern District of Virginia, NMM submits

that such relief is in the best interests of the        estates and furthers                        in

the historical, archeological, scientific, and cultural aspects of the R.M.S. Titanic wreck and its

artifacts.




                                                   2
           Case 3:16-bk-02230-PMG           Doc 1193    Filed 09/03/18     Page 3 of 7



         WHEREFORE, NMM respectfully requests that this Court hold in abeyance its decision

with respect to the Museum Disclosure Statement until further order of this Court.

Dated:    September 3, 2018                  Respectfully Submitted,
          Miami, Florida

                                      By:    /s/ Patricia Ann Redmond
Timothy Graulich*                            Patricia Ann Redmond
James I. McClammy*                           Florida Bar No. 303739
DAVIS POLK & WARDWELL LLP                    STEARNS WEAVER MILLER WEISSLER
450 Lexington Avenue                         ALHADEFF & SITTERSON, P.A.
New York, NY 10017                           Museum Tower
(212) 450-4000                               150 West Flagler Street
timothy.graulich@davispolk.com               Suite 2200
james.mcclammy@davispolk.com                 Miami, FL 33130
                                             Telephone: (305) 789-3200
* Pro hac vice admission granted at          predmond@stearnsweaver.com
Docket Nos. 865, 866
                                             Attorneys for the Trustees of the National
                                             Maritime Museum




                                                3
          Case 3:16-bk-02230-PMG           Doc 1193     Filed 09/03/18     Page 4 of 7



                  CERTIFICATE OF ELECTRONIC FILING AND SERVICE

        I hereby certify that on September 3, 2018, the foregoing document is being filed
electronically via CM/ECF. I further certify that the foregoing is being furnished via Notice of
                     NEF                           electronic transmission upon those parties who
are registered with the Court to receive NEF in the matter and by U.S. Mail to all other interested
parties on the attached service list.



Dated: September 3, 2018
       Miami, Florida

                                                       /s/ Patricia Ann Redmond

                                                       Patricia Ann Redmond
                                                       Florida Bar No. 303739
                                                       STEARNS WEAVER MILLER WEISSLER
                                                       ALHADEFF & SITTERSON, P.A.
                                                       Museum Tower
                                                       150 West Flagler Street
                                                       Suite 2200
                                                       Miami, FL 33130
                                                       Telephone: (305) 789-3200
                                                       predmond@stearnsweaver.com
Case 3:16-bk-02230-PMG   Doc 1193   Filed 09/03/18   Page 5 of 7
Case 3:16-bk-02230-PMG   Doc 1193   Filed 09/03/18   Page 6 of 7
Case 3:16-bk-02230-PMG   Doc 1193   Filed 09/03/18   Page 7 of 7
